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DLD-182                                                         NOT PRECEDENTIAL

                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                                 ___________

                                       No. 24-2629
                                       ___________

                    In re: ROBERT MANCINI; JOY SCHWARTZ;
                      GREGORY STENSTROM; LEAH HOOPES,
                                                       Petitioners
                      ____________________________________

                      On a Petition for Writ of Mandamus from the
           United States District Court for the Eastern District of Pennsylvania
                         (Related to E.D. Pa. No. 2:24-cv-02425)
                      ____________________________________

                     Submitted Pursuant to Rule 21, Fed. R. App. P.
                                 September 12, 2024

               Before: JORDAN, PORTER, and PHIPPS, Circuit Judges

                             (Opinion filed: October 1, 2024)
                                       _________

                                        OPINION*
                                        _________

PER CURIAM

       On June 5, 2024, in the United States District Court for the Eastern District of

Pennsylvania, the petitioners sued Delaware County, Pennsylvania, and the Board of

Elections for Delaware County, complaining that the defendants do not properly verify

voting machines or take other actions necessary to ensure the integrity of elections. The


*
 This disposition is not an opinion of the full Court and pursuant to I.O.P. 5.7 does not
constitute binding precedent.
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next month, the defendants filed a motion to dismiss the complaint, to which the

petitioners filed a response on July 15, 2024.

       On September 3, 2024, while the motion was still pending, the petitioners filed a

mandamus petition asserting that “[j]ustice delayed in this case will be justice denied”

and requesting that we order the District Court to rule immediately on the pending motion

to dismiss and to hold trial soon thereafter on the allegations in the complaint if the

motion to dismiss were denied. 3d Cir. Doc. No. 1-3 at 4. On September 9, 2024, the

District Court granted the motion to dismiss and dismissed the complaint without

prejudice to an amendment within 30 days.

       In light of the District Court’s ruling, this mandamus petition no longer presents a

live controversy. Accordingly, we will dismiss it as moot. See Blanciak v. Allegheny

Ludlum Corp., 77 F.3d 690, 698-99 (3d Cir. 1996) (noting that “[i]f developments occur

during the course of adjudication that . . . prevent a court from being able to grant the

requested relief, the case must be dismissed as moot”).




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